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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                                                                        19-CR-696 (PAE)
                        -v-
                                                                             ORDER
 ARI TEMAN,

                                        Defendant.


PAUL A. ENGELMAYER, District Judge:

       The Court has reviewed counsels' submissions on the recent letter by defendant Ari

Teman regarding his claims of violations of Brady v. Maryland, 373 U.S. 83, 87 (1963), Giglio

v. United States, 405 U .S. 150, 154 (1972), and the Jencks Act, 18 U.S.C. § 3500. See Dkts. 156

(Teman letter), 158 (Government response), 159 (Teman reply), 163 (court order seeking

declaration from Government), 164 (Government letter and declaration).

       The Court declines to reconsider its June 5, 2020 decision denying Teman's post-trial

motion with respect to those claims. See Dkt. 138 at 87- 101. Teman has not identified any new

info1mationjustifying reconsideration of that ruling. See Dkts. 156, 163. And the Cami is

satisfied from the Government's response, Dkt. 158, and declaration, Dkt. 164, that the

Government (1) has produced all writings in its possession containing statements by Joseph

Soleimani regarding the Housing Court Case and the Housing Court Order; and (2) is unaware of

any oral statements made by Soleimani that contradict any aspect of his trial testimony, including

with respect to those subjects. There is, therefore, no non-speculative basis on which to asseti a

violation of Brady, Giglio, or§ 3500.
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       Teman's request that the Court direct additional disclosures from the Government is

therefore denied.

       The Clerk of Court is respectfully directed to terminate the motion pending at docket 156.

       SO ORDERED.




                                                           United States District Judge

Dated: November 19, 2020
       New York, New York




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